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 5                         IN THE UNITED STATES DISTRICT COURT

 6                        IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

 7                                              FRESNO VENUE

 8   UNITED STATES OF AMERICA,           )             No. CR05-00341-AWI
                                         )
 9               Plaintiff,              )             ORDER CONTINUING MOTIONS
                                         )             HEARING DATE TO
10               vs.                     )             FEBRUARY 27, 2006
                                         )
11   JAMES HOLLAND et. al.               )
                                         )
12                                       )
                 Defendants.             )
13   ____________________________________)

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            WHEREFORE GOOD CAUSE APPEARING, AND UPON THE STIPULATION OF THE
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     PARTIES, IT IS HEREBY ORDERED THAT the Hearing date presently scheduled on January 23, 2006
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     is continued to February 27, 2006 at 9:00 a.m.
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            IT IS FURTHER ORDERED THAT defendants shall file Motions no later than February 9,
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     2006, Government Response is due on February 21, 2006, and any Reply is due on February 24, 2006.
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     IT IS SO ORDERED.
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     Dated:    December 13, 2005                       /s/ Anthony W. Ishii
22   0m8i78                                      UNITED STATES DISTRICT JUDGE

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